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                                     EXHIBIT C

                              Third Monthly Fee Statement




 DOCS_LA:338148.1 05067/002
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF LOUISIANA

     In re:                                                      Case No. 20-10846

     THE ROMAN CATHOLIC CHURCH                                   Section “A”
     OF THE ARCHDIOCESE OF NEW
     ORLEANS,                                                    Chapter 11
                        Debtor. 1
                                                                 Objection Deadline: June 8, 2021




  MONTHLY FEE AND EXPENSE STATEMENT OF BERKELEY RESEARCH GROUP,
    LLC FOR THE PERIOD DECEMBER 1, 2020 THROUGH DECEMBER 31, 2020

              1.   In accordance with Section XIII(B) of the Court’s December 4, 2019 General

 Order Regarding Procedures for Complex Chapter 11 Cases (the “Complex Case Order”),

 Berkeley Research Group, LLC (“BRG”), as financial advisor to the Official Committee of

 Unsecured Creditors (the “Committee”) in this Chapter 11 case concerning the above captioned

 debtor and debtor-in-possession (the “Debtor”) hereby submits its Monthly Fee and Expense

 Statement (the “Statement”) for the period from December 1, 2020 through December 31, 2020

 (the “Statement Period”) for the above-styled Chapter 11 bankruptcy case (collectively, the

 “Bankruptcy Case”).

              ITEMIZATION OF SERVICES RENDERED AND EXPENSES INCURRED

              2.   The BRG timekeepers (collectively, the “Timekeepers”) who rendered services to

 the Committee in connection with the Bankruptcy Case during the Statement Period, including the

 hourly rate, title, and fees earned by each Timekeeper, is attached hereto as Exhibit A.




 1
   The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
 business is located at 7887 Walmsley Ave., New Orleans, LA 70125.


                                                         1
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        3.      The detailed time record of BRG for the Statement Period are attached hereto as

 Exhibit B.

        4.      In addition, under separate cover, the detailed time record under Exhibit B will be

 sent to the Office of the United States Trustee in the LEDES format.

        As of the date hereof, BRG has received the following payments for fees and expenses

 incurred from the Debtors’ estates post-petition: None.

       TOTAL FEES AND EXPENSES SOUGHT FOR THE STATEMENT PERIOD

        5.      The total amounts sought for fees for professional services rendered and

 reimbursement of expenses incurred for the Statement Period are as follows:

                            December 1, 2020 to December 31, 2020

               Fees (at standard rates)                          $12,061.50

                (Voluntary Reduction)                           ($1,633.50)

               Fees (After reduction)                            $10,428.00



               Expenses                                                 $0.00

               Total                                             $10,428.00




                                                 2
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                         NOTICE AND OBJECTION PROCEDURES

        6.      In accordance with the Interim Compensation Order, notice of the Statement has

 been served upon the following parties (“Notice Parties”) as required by the Complex Case Order:

 (i) counsel for the Debtor, Mark Mintz, Esq., Jones Walker LLP, 201 St. Charles Ave, New

 Orleans, LA 70170-5100; (ii) counsel for the prepetition secured lender, Hancock Whitney Bank,

 David F. Waguespack, Esq., Carver, Darden, Koretzky, Tessier, Finn, Blossman & Areaux,

 L.L.C., 1100 Poydras Street, Suite 3100, New Orleans, Louisiana 70163-1102; (iii) KS State Bank,

 1010 Westloop, P.O. Box 69, Manhattan KS 66505-0069; (iv) Dell Financial Svc LP, Mail Stop

 P82DF, 23 One Dell Way, Round Rock TX 78682; (v) David S. Rubin, Butler Snow LLP, 445

 North Boulevard, Suite 300, Baton Rouge, LA 70802; (vi) Colleen Murphy, Greenberg Traurig,

 One International Place, Suite 2000, Boston, MA 02110; (vii) Annette Jarvis, Greenberg Traurig,

 222 S. Main Street, Fifth Floor, Salt Lake City, UT 84101; and (viii) Amanda George, Esq., Office

 of The United States Trustee, 400 Poydras Street, Suite 2110, New Orleans, LA 70130.

        7.      Also pursuant to the Complex Case Order, any objections to this Statement must

 be asserted on or before June 8, 2021 (the “Objection Deadline”), setting forth the nature of the

 objection and the specific amount of fees or expenses at issue.

        8.      If no objections to the Statement are received on or before the Objection Deadline,

 the Debtor, pursuant to the Complex Case Order, is authorized to pay BRG on an interim basis the

 total amount of $8,342.40 which consists of eighty percent (80%) of BRG’s total fees of

 $10,428.00, or $8,342.40, and one hundred percent (100%) of BRG’s total expenses of $0.00 for

 the Statement Period.

        9.      To the extent an objection to the Statement is received on or before the Objection

 Deadline, the Debtor is to withhold payment of that portion of the Statement to which the objection

 is directed and will promptly pay the remainder of the fees and disbursements in the percentages
                                                 3
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 set forth above. To the extent such objection is not resolved, it shall be preserved and scheduled

 for consideration at the next interim fee application hearing.

  Dated: May 25, 2021                                  Respectfully submitted,

                                                       By:/s/ Paul N. Shields
                                                          Matthew K. Babcock
                                                          Paul N. Shields
                                                          Berkeley Research Group, LLC
                                                          201 South Main Street, Suite 450
                                                          Salt Lake City, Utah 84111
                                                          Telephone: (801) 364-6233
                                                          Email: mbabcock@thinkbrg.com
                                                                 pshields@thinkbrg.com

                                                       Financial Advisors to the Official Committee of
                                                       Unsecured Creditors




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                                     EXHIBIT A

                                 (Timekeeper Summary)




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       COMPENSATION BY TIMEKEEPER DURING COMPENSATION PERIOD
              DECEMBER 1, 2020 THROUGH DECEMBER 31, 2020


       Name               Title       Hourly Rate   Hours         Amount

 Ozgur Kan          Managing             $600         3.90           $2,340.00
                    Director
 Paul Shields       Managing             $590         7.50           $4,425.00
                    Director

 Matthew Babcock    Associate            $515         5.70           $2,935.50
                    Director
 Shelby Chaffos     Associate            $220         0.30             $66.00
 Victoria Calder    Case Assistant       $105         6.30            $661.50
                                                     23.70          $10,428.00
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                                     EXHIBIT B

                                  (November Invoice)
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                        Page 2 of 7
c/o: Official Committee of Unsecured Creditors                                                    Invoice # 113804
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for   Client-Matter: 20532-033612
the Archdiocese of New Orleans

Services Rendered From December 1, 2020 Through December 31, 2020

PROFESSIONAL SERVICES
                                                                             Rate       Hours            Amount
Managing Director
  Ozgur Kan                                                                600.00        3.90           2,340.00
  Paul Shields                                                             590.00        7.50           4,425.00

Associate Director
   Matthew Babcock                                                         515.00        5.70           2,935.50

Associate
   Shelby Chaffos                                                          220.00        0.30               66.00

Case Assistant
   Victoria Calder                                                         105.00        6.30             661.50

Total Professional Services                                                             23.70          10,428.00
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                        Page 3 of 7
c/o: Official Committee of Unsecured Creditors                                                    Invoice # 113804
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for   Client-Matter: 20532-033612
the Archdiocese of New Orleans

SUMMARY BY TASK CODE

 Task Code    Description                                                                Hours          Amount
  200.90      Document / Data Analysis (Production Requests)                              1.80            906.00
  600.00      Claims / Liability Analysis (General)                                      12.00          3,642.00
  620.00      Claims / Liability Analysis (Commercial Debt)                               9.90          5,880.00

Total Professional Services                                                               23.70        10,428.00
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                                Page 4 of 7
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 113804
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Services Rendered From December 1, 2020 Through December 31, 2020

DETAIL OF PROFESSIONAL SERVICES

Date         Name                          Description                                Hours        Rate          Amount

Task Code: 200.90 - Document / Data Analysis (Production Requests)
12/22/20     Matthew Babcock           Spoke with UCC Counsel regarding                0.60      515.00           309.00
                                       document requests.
12/22/20     Paul Shields                  Spoke with UCC Counsel (AC) and BRG         0.60      590.00           354.00
                                           (MB) regarding limited production of
                                           records to date and next steps in
                                           obtaining records from the Debtor.
12/28/20     Shelby Chaffos                Spoke with BRG (PS) and UCC Counsel         0.30      220.00            66.00
                                           (GB) to discuss New Orleans document
                                           production.
12/28/20     Paul Shields                  Spoke with BRG (SC) and UCC Counsel         0.30      590.00           177.00
                                           (GB) to discuss and coordinate method
                                           of identifying documents produced by
                                           the Debtor and documents not yet
                                           produced.
                                           Total for Task Code 200.90                  1.80                       906.00

Task Code: 600.00 - Claims / Liability Analysis (General)
12/01/20     Matthew Babcock               Analyzed filed and scheduled claims,        0.80      515.00           412.00
                                           including comparison of said claims.
12/01/20     Paul Shields                  Evaluated issues for consideration in       0.30      590.00           177.00
                                           developing schedule of unsecured,
                                           non-priority claims.
12/02/20     Matthew Babcock               Coordinated analysis of filed claims.       0.30      515.00           154.50
12/02/20     Victoria Calder               Analyzed filed claims (Claim #1 - #80),     1.60      105.00           168.00
                                           including preparation of data for
                                           further review / comparison.
12/03/20     Victoria Calder               Analyzed filed claims (Claim #81 -          1.40      105.00           147.00
                                           #199), including preparation of data
                                           for further review / comparison.
12/07/20     Matthew Babcock               Examined additional filed claims (#200      0.80      515.00           412.00
                                           - #421), including coordination of
                                           additional analysis.
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                                Page 5 of 7
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 113804
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
12/08/20     Matthew Babcock              Examined filed claims identified on          1.90      515.00           978.50
                                          Donlin Recano (425 claims), including
                                          comparison to claims identified on
                                          Pacer claims register (59 claims).
12/08/20     Matthew Babcock              Spoke with BRG (PS) in regard to             0.30      515.00           154.50
                                          analysis of filed claims.
12/08/20     Matthew Babcock              Spoke with UCC Counsel in regard to          0.20      515.00           103.00
                                          claims analysis.
12/08/20     Victoria Calder              Analyzed filed claims (Claim #366 -          1.10      105.00           115.50
                                          #421), including preparation of data
                                          for further review / comparison.
12/08/20     Victoria Calder              Analyzed filed claims (Claim #200 -          2.20      105.00           231.00
                                          #365), including preparation of data
                                          for further review / comparison.
12/08/20     Paul Shields                 Spoke with BRG (MB) regarding                0.30      590.00           177.00
                                          analysis of filed claims.
12/09/20     Matthew Babcock              Updated analysis of filed claims             0.80      515.00           412.00
                                          identified on Donlin Recano (425
                                          claims).
                                          Total for Task Code 600.00                  12.00                     3,642.00

Task Code: 620.00 - Claims / Liability Analysis (Commercial Debt)
12/08/20     Ozgur Kan                     Performed research about trading /          0.50      600.00           300.00
                                           market activity of bonds.
12/08/20     Ozgur Kan                    Spoke with BRG (PS) regarding market         0.20      600.00           120.00
                                          activity of bonds.
12/08/20     Paul Shields                 Spoke with UUC Counsel (DB)                  0.20      590.00           118.00
                                          regarding information to gather
                                          relating to bond trading, as well as
                                          scheduled and filed claims.
12/08/20     Paul Shields                 Spoke with BRG (OK) regarding work           0.20      590.00           118.00
                                          to perform in connection with bond
                                          trading activity.
12/09/20     Ozgur Kan                    Spoke with BRG (PS) regarding                0.40      600.00           240.00
                                          research / findings obtained about the
                                          market activity of bonds.
12/09/20     Paul Shields                 Reviewed bond trading activity on            0.20      590.00           118.00
                                          Archdiocese of New Orleans bonds.
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                                Page 6 of 7
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 113804
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
12/09/20     Paul Shields                 Spoke with BRG (OK) regarding                0.40      590.00           236.00
                                          findings relating to bond trading
                                          activity on Archdiocese of New
                                          Orleans bonds.
12/09/20     Paul Shields                 Remitted detail of bond trading              0.20      590.00           118.00
                                          activity to counsel, including a
                                          description of information contained
                                          therein.
12/12/20     Paul Shields                 Prepared email communications                0.20      590.00           118.00
                                          regarding Archdiocese of New Orleans
                                          bond trading activity.
12/14/20     Ozgur Kan                    Performed research about the                 1.00      600.00           600.00
                                          ownership of series of bonds over the
                                          past year on Bloomberg.
12/14/20     Ozgur Kan                    Spoke with BRG (PS) regarding further        0.40      600.00           240.00
                                          research into the market activity of
                                          bonds, including conference call with
                                          UCC Counsel (RK, DB) regarding same.
12/14/20     Ozgur Kan                    Spoke with BRG (PS) to summarize the         0.50      600.00           300.00
                                          market ownership of bonds.
12/14/20     Ozgur Kan                    Spoke with UCC Counsel (RK, DB)              0.90      600.00           540.00
                                          about the outcome of the ownership
                                          of bonds from industry sources, such
                                          as Bloomberg.
12/14/20     Paul Shields                 Conducted further review of trading          1.50      590.00           885.00
                                          activity of Archdiocese of New Orleans
                                          bonds, including consideration of
                                          means of responding to UCC Counsel's
                                          request regarding same.
12/14/20     Paul Shields                 Spoke with UCC Counsel (RK, DB)              0.90      590.00           531.00
                                          regarding additional issues for
                                          consideration in connection with
                                          trading activity of Archdiocese of New
                                          Orleans bonds.
12/14/20     Paul Shields                 Spoke with BRG (OK) regarding trading        0.50      590.00           295.00
                                          activity of Archdiocese of New Orleans
                                          bonds.
12/14/20     Paul Shields                 Spoke with BRG (OK) regarding                0.40      590.00           236.00
                                          preliminary analysis on bond trading
                                          activity, including conference call with
                                          UCC Counsel (RK, DB) regarding same.
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                                Page 7 of 7
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 113804
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
12/15/20     Paul Shields                 Spoke with UCC Counsel (RK)                  0.50      590.00           295.00
                                          regarding further consideration of
                                          issues relating to trading activity of
                                          Archdiocese of New Orleans bonds.
12/16/20     Paul Shields                 Spoke with UCC Counsel (LC) regarding        0.20      590.00           118.00
                                          analysis of trading activity of
                                          Archdiocese of New Orleans bonds.
12/18/20     Paul Shields                 Reviewed next steps in evaluating            0.60      590.00           354.00
                                          Archdiocese of New Orleans bond
                                          trading activity.
                                          Total for Task Code 620.00                   9.90                     5,880.00

Professional Services                                                                 23.70                    10,428.00
